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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ADRIAN HINES,

          Plaintiff,
                                                          CASE NO.:
  -vs-

   CREDIT ONE BANK,

          Defendant.
                                         /

                                             COMPLAINT

         1.     Credit One Bank “robo-called” him more than 100 times in stark violation of the

 Telephone Consumer Protection Act, 47 U.S.C. §227 et seq. (“TCPA”), the Florida Consumer

 Collection Practices Act, Fla. Stat. §559.55 et seq. (“FCCPA”) and the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”).

                                         INTRODUCTION

         2. “Robocalls” are the #1 consumer complaint in America today.

         3.   The FTC reported over 3.2 million complaints about robocalls in 2014, of which

 almost half (1,678,433) occurred after the consumer had already requested that the company stop

 calling. Federal Trade Commission, National Do Not Call Registry Data Book, FY 2014, at 5

 (Nov. 2014). Since this report, the number of complaints has increased. Robocalls are very

 inexpensive to make. As was noted in a Senate hearing on the subject: “With such a cheap and

 scalable business model, bad actors can blast literally tens of millions of illegal robocalls over the

 course of a single day at less than 1 cent per minute.” Senate Hearing at 5.




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        4. According to the Federal Communications Commission (FCC), “Unwanted calls and

 texts are the number one complaint to the FCC. There are thousands of complaints to the FCC

 every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

 complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-proposal.

        5.   The TCPA was enacted to prevent companies like Defendant from invading American

 citizens’ privacy and prevent illegal robocalls.

        6. Congress enacted the TCPA to prevent real harm. Congress found that "automated or

 pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

 decided that "banning" such calls made without consent was "the only effective means of

 protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

 §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

 132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

        7. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of modern

 civilization, they wake us up in the morning; they interrupt our dinner at night; they force the sick

 and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’ 137 Cong.

 Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone subscribers another

 option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F.

 3d 1242 (11th Cir. 2014).

        8. According to findings by the FCC-the agency Congress vested with authority to issue

 regulations implementing the TCPA—such calls are prohibited because, as Congress found,

 automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

 solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that




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 wireless customers are charged for incoming calls whether they pay in advance or after the minutes

 are used.

        9. Robocalls cause real emotional and money damages for individuals and their families.

                                   JURISDICTION AND VENUE

        10. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28

 U.S.C. §1331.

        11. The alleged violations described in the Complaint occurred in North Miami, FL.

                                    FACTUAL ALLEGATIONS

        11.      Plaintiff is a natural person.

        12.      Plaintiff is a citizen of the United States.

        13.      Plaintiff resides in North Miami, FL.

        14.      Plaintiff is a “consumer” as defined in Florida Statute 559.55(8).

        15.      Plaintiff is an “alleged debtor.”

        16.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

        17.      Defendant is a corporation.

        18.      Defendant is a corporation that conducts business in the state of Florida.

        19.      Defendant is a “creditor” as defined by Florida Statute § 559.55(5).

        20.      The debt that is the subject matter of this complaint is a “consumer debt” as defined

 by Florida Statute §559.55(6).

        21.      Defendant made a call to Plaintiff’s cellular telephone, (954) 274-6089.

        22.      Plaintiff is the regular user and carrier of the cellular telephone numbers at issue,

 (954) 274-6089.


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        23.     Defendant attempted to collect a debt from Plaintiff.

        24.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

 calling several times during one day, and on back to back days, with such a frequency as can be

 reasonably expected to harass.

        25.     Defendant made at least one call to Plaintiff using an “automatic telephone dialing

 system” (ATDS), as defined in the TCPA, 47 U.S.C. § 227(a)(1).

        26.     Each call Defendant made to Plaintiff was made using an ATDS.

        27.     Defendant made at least one call to Plaintiff’s cellular telephone using an artificial

 or prerecorded voice, as specified by the TCPA, 47 U.S.C. § 227 (b)(1)(A).

        28.     Each call Defendant made to Plaintiff’s cellular telephone was with an artificial or

 prerecorded voice, as specified by the TCPA, 47 U.S.C. § 227 (b)(1)(A).

        29.     Defendant has conceded in another lawsuit that the telephone system used to call

 Plaintiff was in fact an ATDS.

        30.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

 purposes” as specified in 47 U.S.C. §227(b)(1)(A).

        31.     Immediately upon receipt of the calls, Plaintiff answered a call from Defendant and

 informed an agent/representative of the Defendant that their incessant calls were harassing him

 and demanded that Defendant cease placing calls to his aforementioned cellular telephone number.

        32.     During     the    aforementioned       phone   conversation     with     Defendant’s

 agent/representative, Plaintiff expressly revoked any express consent Defendant may have

 mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular

 telephone numbers by the use of an ATDS or a pre-recorded or artificial voice.




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          33.   Each subsequent call Defendant made to Plaintiff’s aforementioned cellular

 telephone numbers was done so without the “express permission” of Plaintiff.

          34.   Additionally, in or about June of 2015, Plaintiff answered another call from the

 Defendant, explained that he has told them to stop calling before, and again demanded that

 Defendant stop calling his aforementioned cellular telephone number.

          35.   Each of Plaintiff’s conversations with the Defendant demanding an end to the

 harassment were ignored.

          36.   Defendant has recorded at least one conversation with Plaintiff  

          37.   Defendant has recorded numerous conversations with Plaintiff.  

          38.   Despite actual knowledge of their wrongdoing, and that they did not have Plaintiff’s

 consent, the Defendant continued its barrage of phone calls to Plaintiff’s aforementioned cellular

 telephone numbers in an attempt to collect a debt.

          39.   Defendant made at least one call to (954) 274-6089 using an ATDS.

          40.   Defendant made at least twenty (20) calls to (954) 274-6089 using an ATDS.  

          41.   Defendant made at least fifty (50) calls to (954) 274-6089 using an ATDS.

          42.   Defendant made at least seventy-five (75) calls to (954) 274-6089 using an ATDS.

          43.   Defendant made at least ninety-one (91) calls to (954) 274-6089 using an ATDS.

          44.   Defendant made at least one call to (954) 274-6089 using a pre-recorded or artificial

 voice.

          45.   Each call the Defendant made to Plaintiff in the last four years was made using an

 ATDS.

          46.   Defendant placed approximately 100 automated calls to Plaintiff’s aforementioned

 cellular telephone (or as will be established after a thorough review of Defendant’s records),


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 despite Plaintiff revoking any consent Defendant may have had to place calls to her

 aforementioned cellular telephone number.

        47.     By effectuating these unlawful phone calls, Defendant has caused Plaintiff the very

 harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

        48.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

 with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

 intruding upon Plaintiff’s seclusion.

        49.     Defendant’s phone calls harmed Plaintiff by wasting her time.

        50.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

 whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

 of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

 battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

 telephone service provider.

        51.     Defendant’s corporate policy and procedures is structured as to continue to call

 individuals like Plaintiff, despite these individuals revoking any consent the Defendant may have

 had.

        52.     Defendant’s, corporate policy and procedures provided no means for Plaintiff to

 have her aforementioned cellular numbers removed from the call list.

        53.     Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

 voice message to collect debts from individuals such as Plaintiff for its financial benefit.

        54.     Plaintiff expressly revoked any consent Defendants may have had for placement of

 telephone calls to Plaintiff’s aforementioned cellular telephone by the use of an ATDS or a pre-

 recorded or artificial voice immediately upon Defendants’ placement of the calls.


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        55.     Defendant violated the TCPA with respect to Plaintiff.

        56.     Defendant willfully or knowingly violated the TCPA with respect to Plaintiff.

                                             COUNT I
                                      (Violation of the TCPA)

        57.     Plaintiff incorporates Paragraphs one (1) through fifty-six (56).

        58.     Defendant caused placement of non-emergency telephone calls to Plaintiff’s

 cellular telephone using an ATDS or prerecorded or artificial voice without Plaintiff’s prior

 express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

        59.     Defendant willfully and knowingly caused placement of non-emergency telephone

 calls to Plaintiff’s cellular telephone using an ATDS or prerecorded or artificial voice without

 Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

 judgment against Defendant for statutory damages, punitive damages, actual damages and any

 other such relief the court may deem just and proper.

                                             COUNT II
                                     (Violation of the FCCPA)

        60.     Plaintiff incorporates Paragraphs one (1) through fifty-six (56).

        61.     At all times relevant to this action Defendant is subject to and must abide by the

 law of Florida, including Florida Statute § 559.72.

        62.     Defendant has violated Florida Statute §559.72(7) by willfully communicating with

 the debtor or any member of her or his family with such frequency as can reasonably be expected

 to harass the debtor or her or his family.

        63.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in conduct

 which can reasonably be expected to abuse or harass the debtor or any member of her or his family.


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        64.     Defendant has violated Florida Statute §559.72(9) by attempting to enforce a debt

 when Defendant knows that the debt is not legitimate or assert the existence of some legal right

 when Defendant knows that right does not exist.

        65.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

 continuous sustaining of damages as described by Florida Statute §559.77.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

 judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

 interest, attorney fees and any other such relief the court may deem just and proper.



                                               Respectfully submitted,

                                              s/Amanda Allen
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